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DAVID P. GARDNER, ISB No. 8766
WINSTON & CASHATT, LAWYERS
250 Northwest Boulevard, Suite 206
Coeur d’Alene, ID 83814
Telephone: (208) 667-2103
Facsimile: (208) 765-2121
dpg@winstoncashatt.com

Attorneys for Plaintiff


                          UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF IDAHO

In Re:                                              Case No. 13-20088-TLM

MICHAEL T. SACKETT and CHANTELL R.
SACKETT,

                                       Debtors.
THE CINCINNATI INSURANCE                            Adv. Proc. No.
COMPANY, an Ohio corporation,

                                      Plaintiff,
vs.

MICHAEL T. SACKETT and CHANTELL R.
SACKETT, Idaho citizens, and the marital
community comprised thereof,

                                   Defendants.

      ADVERSARY COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT
                 (11 U.S.C. § 523(a)(4) AND 11 U.S.C. § 523(a)(6))


         Plaintiff The Cincinnati Insurance Company (“CIC”), by and through its attorneys

Winston & Cashatt, Lawyers, and for its Adversary Complaint against Michael T. Sackett,

Chantell R. Sackett, and the marital community composed thereof, to Determine

Dischargeability of Debt (11 U.S.C. § 523(a)(4) and 11 U.S.C. § 523(a)(6)) alleges as follows:


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                                            PARTIES

          1.   CIC is an insurance company incorporated in the State of Ohio with its principal

place of business in Cincinnati, Ohio.

          2.   Michael T. Sackett (“Debtor”), along with his wife Chantell R. Sackett, is a

Debtor in the above captioned Chapter 7 bankruptcy case pursuant to a voluntary petition filed

on February 1, 2013.

          3.   Upon information and belief, all acts alleged of Debtor were done while married

and on behalf of and for the benefit of the martial community.

                                JURISDICTION AND VENUE

          4.   This Court has jurisdiction to hear this Complaint pursuant to 28 U.S.C. §§157(a),

(b) (1), (b)(2), (I), and (O), §1334, and 11 U.S.C. §523.

          5.   Venue is proper under 28 U.S.C. §1409(a).

          6.   All parties consent to adjudication of this matter by this Court.

                            FACTS COMMON TO ALL COUNTS

          7.   CIC is in the business of, among other things, providing surety bonds to

contractors in connection with publicly owned construction projects throughout the United

States.

          8.   Debtor was the owner and officer of Mike Sackett, Inc. d/b/a Sackett Contracting

& Excavating (“Sackett Contracting”). Sackett Contracting was a construction company

engaged in the business of providing services as an excavation contractor performing excavating,




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grading, and building underground utilities in Washington and Idaho. Sackett Contracting filed

for bankruptcy relief on or about December 22, 2010.

       9       At all times relevant hereto, Debtor was the sole owner and officer of Sackett

Contracting.

       10.     At Debtor’s direct instruction and/or with his knowledge, Sackett Contracting

applied to CIC for the extension of surety credit in connection with Sackett Contracting’s

construction business.

       11.     As a condition and prior to extending surety credit, CIC required Sackett

Contracting to submit to CIC various documents attesting to Debtor’s and Sackett Contracting’s

respective financial conditions and business operations.

       12.     Among the various documents provided by Debtor and Sackett Contracting in

response to CIC’s underwriting requests were statements of financial condition for both Debtor

and Sackett Contracting.

       13.     CIC relied upon this information and the financial information submitted by

Debtor in making CIC’s decision to extend surety credit to Sackett Contracting.

       14.     In reliance upon the financial documentation submitted by Debtor, CIC provided

surety credit (surety bonds) on behalf of Sackett Contracting, as principal, and in favor of a

public body, as obligee. The bonds secured the obligations of Sackett Contracting to perform

construction work required by the contract with the public body and to pay for labor and

materials required for the completion of the contract.




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       15.       Sackett Contracting entered into a construction contract in the State of Idaho with

the Granite Reeder Water and Sewer District for a project known as the Granite Reeder

Wastewater Collection System (the “Project”).

       16.       At the indemnitors’ request and pursuant to Sackett Contracting’s contract with

Granite Reeder, CIC, as surety, issued payment and performance surety bonds, Bond No.

B0321114 (“Bonds”), on behalf of Sackett Contracting, as principal, in connection with and as

security for Sackett Contracting’s performance on the Project.

       17.     Based upon Debtor’s representation of his financial assets and that he would

follow the terms of the indemnity agreement, discussed below, CIC issued performance and

payment surety bonds with a total penal sum (CIC’s maximum exposure) in the amount of

$6,445,467.12.

       18.       As a condition for and in consideration of CIC’s issuance of the Bonds on behalf

of Sackett Contracting, CIC required Debtor, Chantell R. Sackett, Priest Lake Storage, LLC and

Sackett & Sackett, LLC (collectively, “Indemnitors”) to enter into a written Agreement of

Indemnity (“Indemnity Agreement”) with CIC. A true and correct copy of the Indemnity

Agreement executed by the Indemnitors is attached hereto as Exhibit A.

       19.       The Indemnity Agreement requires the Indemnitors to indemnify and hold CIC

harmless, in part, from all liability under the Bonds it issues on behalf of Sackett Contracting.

The Indemnity Agreement provides, in relevant part, the following:

               The Undersigned shall exonerate, indemnify and keep indemnified
               the Surety from and against any and all liability for losses and
               expenses of whatsoever kind or nature, including the fees and
               disbursements of counsel, and against any and all said losses and
               expense which the Surety may sustain or incur: (i) by reason of


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               having executed or procured the execution of any Bond or Bonds;
               (ii) by reason of the failure of the Undersigned to perform or
               comply with the covenants and conditions of this Agreement; or
               (iii) in enforcing any of the covenants and conditions of this
               Agreement.

(Exhibit A, SECOND).

       20.     Pursuant to the Indemnity Agreement, Sackett Contracting and each of the

Indemnitors agreed to treat, whether in their possession or not, all contract funds either paid or to

be paid on the bonded Project as trust funds for the benefit and payment of Sackett Contracting’s

obligations incurred in completion of the bonded Project including, without limitation, Sackett

Contracting’s subcontractors, suppliers, materialmen, and other project vendors. (See Exhibit A,

FOURTH).

       21.     The Indemnity Agreement permits CIC to pay or compromise any claim or

demand on the Bonds, and states that any such payment or compromise on any claim against the

Bonds is binding on the Indemnitors. (See Exhibit A, SECOND).

       22.     Specifically, the Indemnity Agreement provides, in relevant part, the following:

               The Surety may pay or compromise any claim, demand, suit,
               judgment or expense arising out of such Bond or Bonds and any
               such payment or compromise shall be binding upon the
               Undersigned and included as a liability, loss or expense covered by
               this Indemnity Agreement, provided the same was made by the
               Surety in the reasonable belief that it was liable for the amount
               disbursed, or that such payment or compromise was reasonable
               under all of the circumstances. In the event of any such payment or
               compromise by the Surety, an itemized statement thereof sworn to
               by any representative of the surety familiar with the facts, or the
               voucher or vouchers or other evidence of such payment or
               compromise shall be prima facie evidence of the facts and the
               amount of the liability of the Undersigned under this Agreement.

(Exhibit A, SECOND).


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       23.    The Indemnity Agreement also provides that a sworn, itemized statement of any

such payment or compromise shall be prima facie evidence of the facts and the amount of

Indemnitors’ liability to CIC. (See Exhibit A, SECOND).

       24.    Specifically, the Indemnity Agreement, in relevant part, states:

              In the event of any such payment or compromise by the Surety, an
              itemized statement thereof sworn to by any representative of the
              Surety familiar with the facts, or the voucher or vouchers or other
              evidence of such payment or compromise shall be prima facie
              evidence of the facts and the amount of the liability of the
              Undersigned under this Agreement.

(Exhibit A, SECOND).

       25.    The Indemnity Agreement provides for situations wherein the Indemnitors will be

found in default of the Indemnity Agreement. (See Exhibit A, SEVENTH).

       26.    The Indemnity Agreement states, in relevant part, the following:

              Events of default shall be: (a) any abandonment, forfeiture, or
              breach of or failure, refusal or inability to perform, any contract
              covered by a Bond or any Bond Liability; (b) the failure, delay,
              refusal or inability of the Principal to pay bills or other
              indebtedness incurred in, or in connection with, the performance of
              any contact covered by a Bond; (c) the failure to perform, or
              comply with, any of the terms, covenants and obligations of this
              Agreement; (d) the failure to pay and discharge, when due, any
              other indebtedness of the Principal to the surety; (e) any
              assignment by the Principal for the benefit of creditors, or the
              appointment, or application by the Principal for the appointment,
              of a receiver or trustee for the Principal or its property, whether
              insolvent or not, or an application by the Principal for
              reorganization or arrangements under the terms of the National
              Bankruptcy Act… (g) … any change or threat of change in the
              character, identity, control, management, beneficial ownership or
              existence of the Principal including where control of management
              is taken over by others without the express written consent of the
              Surety.
(Exhibit A, SEVENTH).


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        The Indemnitors Default Under the Indemnity Agreement and Bond Claims

       27.     Prior to and after both Petition Dates, CIC has received claims under the payment

bond from allegedly unpaid subcontractors and suppliers (“Claimants”) of Sackett Contracting

alleging that Sackett Contracting failed to make payments to the Claimants for work performed

in furtherance of performance of the Projects.

       28.     Under the terms of the Indemnity Agreement, the failure, delay, or refusal to pay

bills or indebtedness in connection with any contract covered by a Bond issued by CIC

constitutes a default of the Indemnity Agreement. (See Exhibit A, SEVENTH).

       29.     Prior to and after the Petition Date, the Bond Obligee notified CIC that Sackett

Contracting had not completed all of the work required of Sackett Contracting as set forth in the

contract.

       30.     Under the terms of the Indemnity Agreement, the Indemnitors’ failure to complete

the contract covered by the Bond constitutes a default under the Indemnity Agreement. (See

Exhibit A, SEVENTH).

       31.     CIC received numerous claims from vendors of Sackett Contracting that alleged

that they had not received payment from Sackett Contracting for labor and/or material that each

furnished to the Project.

       32.     Namely, CIC received the following claims of Sackett Contracting’s unpaid

vendors on the Project and in order for CIC to discharge its obligations under the payment bond

because Sackett Contracting failed to pay, CIC paid the below listed amount to each vendor:

       a.      CIC received a claim against the payment bond for the Project from Sackett
Contracting’s subcontractor/supplier HD Fowler, Co., for work performed by HD Fowler, Co.,



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on the Project. After investigating the claim, because of Sackett Contracting’s failure to pay,
CIC paid HD Fowler, Co., $370,755.46 to resolve its bond claim.

       b.      CIC received a claim against the payment bond from Sackett Contracting’s
subcontractor/supplier Consolidated Electric Co., for work performed by Consolidated Electric
Co., on the Project. After investigating the claim, because of Sackett Contracting’s failure to
pay, CIC paid Consolidated Electric Co., $36,107.50 to resolve its bond claim.

       c.      CIC received a claim against the payment bond from Sackett Contracting’s
subcontractor/supplier TML Construction, Inc., for work performed by TML Construction, Inc.,
on the Project. After investigating the claim because of Sackett Contracting’s failure to pay, CIC
paid TML Construction, Inc., $7,276.10 to resolve its bond claim.

        d.     CIC received a claim against the payment bond from Sackett Contracting’s
subcontractor/supplier Empire Electric, Inc., for work performed by Empire Electric, Inc., on the
Project. After investigating the claim because of Sackett Contracting’s failure to pay, CIC paid
Empire Electric, Inc., $56,366.38 to resolve its bond claim.

        e.      CIC received a claim against the payment bond from Sackett Contracting’s
subcontractor/supplier Thorco, Inc., for work performed by Thorco, Inc., on the Project. After
investigating the claim because of Sackett Contracting’s failure to pay, CIC paid Thorco, Inc.,
$1,807.50 to resolve its bond claim.

       f.      CIC received a claim against the payment bond from Sackett Contracting’s
subcontractor/supplier Stone Creek Land Design & Development for work performed by Stone
Creek Land Design & Development on the Project. After investigating the claim because of
Sackett Contracting’s failure to pay, CIC paid Stone Creek Land Design & Development
$33,270.80 to resolve its bond claim.

       g.      CIC received a claim against the payment bond from Sackett Contracting’s
subcontractor/supplier Strata Geotechnical Engineering for work performed by Strata
Geotechnical Engineering on the Project. After investigating the claim because of Sackett
Contracting’s failure to pay, CIC paid Strata Geotechnical Engineering $5,669.74 to resolve its
bond claim.

        h.      CIC received a claim against the payment bond from Sackett Contracting’s
subcontractor/supplier North Idaho Propane, Inc., for work performed by North Idaho Propane,
Inc., on the Project. After investigating the claim because of Sackett Contracting’s failure to
pay, CIC paid North Idaho Propane, Inc., $1,530.81 to resolve its bond claim.




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       33.     CIC has recovered the remaining contract balance on the Project in the amount of

$19,863.47 from Granite Reeder.

       34.     As of February, 2013, CIC is owed the amount of its losses which totals

$593,366.85, which includes attorney and consulting fees and expenses which are recoverable

under the Indemnity Agreement.

       35.     On October 31, 2011, CIC issued a written demand to the Indemnitors requesting

payment for its current loss in accordance with the terms of the Indemnity Agreement. A Copy

of CIC’s indemnity demand is attached hereto as Exhibit B.

       36.     Despite demand, the Indemnitors have not indemnified or paid CIC for its loss.

       37.     Debtor, as President of Sackett Contracting and as an indemnitor to CIC, failed to

use the contract funds that were paid to Sackett Contracting as required by Paragraph 4 of the

Indemnity Agreement.

       38.     By applying for surety credit and by entering into the bonded contract, Debtor

represented to CIC that there were sufficient contract funds being held by the owner and that he

as President and owner of Sackett Contracting would use the bonded contract funds to pay all of

the respective project vendors and to complete the bonded project.

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       39.     Debtor, as President and owner of Sackett Contracting and as an indemnitor to

CIC, improperly used the contract funds Sackett Contracting received from the Granite Reeder as

evidenced and detailed below:


                                                   Pre Petition,                         Contract
                                Adjusted             Sackett                              Funds
                                Contract         Contracting Was           CIC’s         Available
                               Amount with          Paid The            Payments on      and Paid
                 Project         Change             Following              Bond           to CIC
  Obligee         Name           Orders          Contract Funds           Claims
               Granite
               Reeder       $3,245,377.14
               Wastewater (last paid pay    $3,261,407.90 (last
Granite        Collection   application     paid pay                             $19,863.97
Reeder         System       17a)            application 17a)      $564,664.43*
               *Includes Completion Contractor and Granite Reeder costs to complete.

       40.     As stated in the Indemnity Agreement, Debtor and Sackett Contracting were

required to treat all contract funds as trust funds in order to pay project vendors. (See Exhibit A).

       41.     Despite this express contractual provision, Debtor used contract funds paid to

Debtor from the Owner of the Project (the contract funds paid to him as president and owner of

Sackett Contracting) for improper purposes that did not involve payment of Sackett

Contracting’s subcontractors, suppliers, materialmen, and/or other project vendors on the Project.

       42.     As detailed above, due to Debtor’s failure to use the bonded contract funds as

trust funds, (a) in order to discharge its obligations under the Bonds, CIC was required to pay

numerous vendors of Sackett Contracting and (b) in order to discharge its obligations under the

Bonds, CIC was required to arrange for Granite Reeder to complete the Project.

       43.     Debtor, personally and in his capacity as owner of Sackett Contracting, intended

to harm CIC by taking and using monies (the bonded contract funds) from the bond obligee and


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not passing on those funds (a) to Sackett Contracting’s Project vendors and (b) to complete the

bonded Project. Debtor’s intentional misuse of contract funds was willful and malicious while

acting in his fiduciary capacity as owner of Sackett Contracting.

                                            COUNT I

             §523(a)(4) The Debt Is Non-Dischargeable As A Result Of The Debtors
                       Defalcation While Acting In A Fiduciary Capacity

       44.      CIC incorporates all allegations contained above.

       45.      Pursuant to §523(a)(4), a discharge under §§727, 1141, 1228(a), 1228(b), or

1328(b) of this title does not discharge an individual debtor from any debt for fraud or

defalcation while acting in a fiduciary capacity, embezzlement, or larceny.

       46.      Pursuant to the Indemnity Agreement, Debtor and the other Indemnitors agreed,

among other things, to pay to CIC upon demand all loss, interest, costs, and expenses incurred by

CIC by reason of having executed any Bond, or incurred by CIC on account of any Default under

the Indemnity Agreement by any of the Indemnitors.

       47.      Pursuant to Paragraph 4 of the Indemnity Agreement, Debtor and the Indemnitors

agreed to treat all funds received under any contract as trust funds for the benefit and payment of

all obligations under the bonded contract. Namely, Paragraph 4 provides, in part, the following:

                The Principal and Indemnitors agree and hereby expressly declare that all
                funds due or to become due under any contract covered by a Bond are
                Trust Funds, whether in the possession of the Principal or another, for the
                benefit and payment of all persons to whom the Principal incurs
                obligations in the performance of such contract, for which the Surety
                would be liable under the Bond. If the Surety discharges any such
                obligation, it shall be entitled to assert the claim of such person to the
                Trust Funds.

 Exhibit A.


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       48.     Debtor, as owner and officer of Sackett Contracting, agreed to ensure and use the

contract funds Sackett Contracting received from Granite Reeder to pay Sackett Contracting’s

project vendors and to complete the Project.

       49.     As owner and officer of Sackett Contracting, Debtor willfully and maliciously

breached his fiduciary duty under the Indemnity Agreement and the bonded contract by failing to

treat the contract funds as trust funds and pay the contract funds to Sackett Contracting’s project

vendors and to use the funds to complete the underlying bonded contract.

       50.     CIC has received payment bond and performance bond claims from the various

subcontractors and suppliers of Sackett Contracting that Sackett failed to pay and a claim from

Granite Reeder to finish the Project because Sackett Contracting failed to complete the Project.

During CIC’s investigation of bond claims, CIC discovered that the remaining contract balances

on the bonded project were significantly depleted by Debtor and the remaining contract funds

were insufficient to discharge CIC’s obligations under the bonds to ensure completion of the

Project and payment of the unpaid Project vendors.

       51.     Pursuant to the trust fund provision of the Indemnity Agreement and the

obligation of Sackett Contracting to pay its vendors pursuant to the contract between Sackett

Contracting and Granite Reeder, Debtor was required to hold, in trust, all contract funds that he

received for the use and benefit of the Project vendors that Sackett Contracting engaged on the

bonded Project and to use the contract funds to complete the Project.

       52.     Based upon the claims received by CIC and the amounts paid out by CIC to-date,

Debtor did not use the contract funds as trust funds to pay Sackett Contracting’s Project vendors

and to complete the Project.


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       53.Instead, as owner and officer of Sackett Contracting, Debtor willfully and maliciously

breached his contractual obligations as a fiduciary to CIC and Sackett Contracting’s Project

vendors.

       54.     As a direct result of Debtor’s willful and malicious actions while acting as owner

and officer of Sackett Contracting and indemnitor, CIC has incurred in excess of $593,366.85.

       55.     Debtor, personally and in his capacity as co-owner and officer of Sackett

Contracting, intended to harm CIC by obtaining the contract funds from Project owner and not

using those monies as he was contractually required to – Debtor did not pass on those funds to

Sackett Contracting’s Project vendors and Debtor did not use the contract funds to complete the

bonded Project.

       56.     Such actions and intentional misuse of contract funds by Debtor were willful and

malicious misrepresentations while acting in his fiduciary capacity as owner of Sackett

Contracting.

       57.     Based upon Debtor’s actions, Debtor’s debt to CIC is not dischargeable under

Bankruptcy Code §523(a)(4).

                                            COUNT II

               §523(a)(6) Non-Dischargeability For Wilful and Malicious Injury

       58.     CIC incorporates all allegations contained above.

       59.     Under Bankruptcy Code §523(a)(6), a debt is not dischargeable if it arises from

wilful and malicious injury by the debtor to another entity or to the property of another entity.




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       60.     Debtor willfully, maliciously, and unlawfully took contract funds that did not

belong to him with the deliberate intent to convert it to his own use without consent of the

Project vendors and CIC.

       61.     As of February 2013 CIC has been damaged in the amount of its loss plus

attorneys fees and interest, in the amount of $593,366.85 as the proximate result of Debtor’s

unlawful taking of monies and as a result of such action Debtor is indebted to CIC in the amount

of said damages.

       62.     The debt arises from wilful and malicious injury.

       63.     The debt is non dischargeable under Bankruptcy Code §523(a)(6).

                                    PRAYER FOR RELIEF

       WHEREFORE, The Cincinnati Insurance Company prays for the following relief:

       a.      Judgment against the Debtor, Michael T. Sackett, in the amount of its actual costs

and estimated loss to date, plus all cost and expense, including attorneys and consulting fees and

interest, in the amount that CIC has incurred. As of February 2013, the amount incurred by CIC

totals $593,366.85;

       b.      A finding that the debt embodied by this judgment is non dischargeable under 11

U.S.C. §523(a)(4) for the reasons set forth above;

       c.      Together with such additional relief that this Court deems equitable and just.

       DATED this 28th day of May, 2013.


                                     /s/David P. Gardner
                                     DAVID P. GARDNER, ISBA No. 8766
                                     WINSTON & CASHATT, LAWYERS
                                     Attorneys for Plaintiff The Cincinnati Insurance Company


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